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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 21 CR 371
                  v.
                                                   Judge Matthew F. Kennelly
 VIVIANNA LOPEZ, et al.



                    DEFENDANT VIVIANNA LOPEZ’S
             REPLY IN SUPPORT OF HER MOTION TO COMPEL

       The government concedes that it elicited perjured testimony from its star witness in

the El Chapo trial. We are in odd territory. Accordingly, Defendant VIVIANNA LOPEZ,

by her attorney, MIANGEL C. CODY, requests an evidentiary hearing on the matters

raised in her Motion to Compel. In further support of the relief requested, we state as

follows:

       1.     The government takes the surprising position in its response that: “Ms. Lopez

did not receive immunity from the United States, nor did the United States enter into a

nonprosecution agreement for the benefit of Ms. Lopez.” The government does not even

attempt to explain why it elicited precisely the contrary during Mr. Flores’s testimony in the

El Chapo trial.

       2.         As a threshold matter, the government contends “Ms. Lopez’s motion to

compel does not even claim that she received immunity.” At this stage, undersigned counsel

has an ethical obligation to conduct her defense investigation to determine whether there is a

credible basis for a motion to dismiss. Counsel is simply following the facts where they lead.


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Counsel has been asking for this discovery since July 2021. More to the point, Ms. Lopez

absolutely contends that there is an enforceable nonprosecution agreement in this case. Ms.

Lopez’s motion is not a speculative fishing expedition. Her belief that she has immunity is

based upon sworn testimony that the government itself presented during its direct

examination in the El Chapo trial.

       3.      The government offers a myopic interpretation of immunity. It argues that no

enforceable nonprosecution agreement can exist unless the terms are reduced to writing and

Ms. Lopez must produce a paper contract. Tellingly, the government cites no caselaw to

support its argument. Indeed, “courts have considered unwritten immunity agreements in

the past.” See United States v. Nersesian, 824 F.2d 1294, 1320 (2d Cir.1987); United States v.

Heatley, 39 F.Supp.2d 287, 299 (S.D.N.Y.1998).

       4.      The government’s response also contradicts the position it has taken in other

cases. In prior precedents, “the government [did] not contest that prosecutors may enter into

informal immunity agreements with [putative] criminal defendants.” United States v. Thompson,

25 F.3d 1558, 1562 (11th Cir. 1994); see also United States v. Weaver, 905 F.2d 1466, 1472 (11th

Cir.1990); United States v. Harvey, 869 F.2d 1439, 1444 (11th Cir.1989).

       5.      Whether the agreement is written or oral, the “court must determine what the

parties reasonably understood to be its terms, including intended remedies in the event of a

breach.” United States v. Aluzzo, 943 F.Supp. 243, 245 (E.D.N.Y.1996). In doing so, the Court

must be attentive to the fact that the state shoulders the “burden of any lack of clarity in

[the] agreement, and [that] ambiguities are to be resolved in favor of defendant.” United States

v. Pelletier, 898 F.2d 297, 302 (2d Cir. 1990).


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         6.     At a minimum, the deal was struck when, in the presence of a federal judge

and jury, the government elicited sworn testimony that Ms. Lopez had immunity. The deal

was further cemented when the government failed to correct any notion that Mr. Flores’s

testimony was untruthful when El Chapo’s lawyer again confirmed his wife received

immunity during the cross examination.

         7.     Most importantly, we know Mr. Flores’s testimony was truthful because the

government said so – in writing – after the El Chapo trial concluded. In a letter dated March

20, 2019, E.D. of NY Assistant United States Attorney Adam Fels submitted a letter to his

counterpart in the Northern District of Illinois. 1 That letter summarized Mr. Flores’s

cooperation and indicated Mr. Flores’s testimony in the El Chapo trial was so significant and

truthful that he should receive a further reduction to his 14-year sentence. The government’s

March 20, 2019 letter was a unequivocal endorsement of the veracity of Mr. Flores’s

testimony, including the assertion that his wife received immunity.

         8.     The bottom line is that the government elicited testimony during the El

Chapo trial that Ms. Lopez received immunity. And, the government later affirmed the

veracity of that testimony in a written communication to our district’s US Attorney’s office.

The government does not dispute these facts in its response.

         9.     Furthermore, the government’s terse three-page response fails to appreciate

the serious Brady consequences of Ms. Lopez’s discovery request. All of the money

laundering transactions contained in the indictment occurred after the December 2018 El


1   See United States v. Joaquin Guzman Loera, 1:09 CR 466, ECF No. 662 at 2 (E.D. NY).



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Chapo trial, where the government elicited sworn testimony that Ms. Lopez received

immunity. Why would she need to conceal something for which the government had already

said she would not be punished? The intent to conceal goes to the mens rea element that the

government must prove to secure a money laundering conviction. Here, whether there was

an oral nonprosecution agreement goes directly to whether the government can establish a

necessary element of the charged offense beyond a reasonable doubt. Ms. Lopez is entitled

to discover evidence concerning the circumstances in which this testimony arose.

       10.    Mr. Flores’s sworn testimony establishes a prima facie showing that there exists,

at the very least, an oral non-prosecution agreement in this case. Principals of estoppel apply

in this context. The government’s indictment of Ms. Lopez violates that agreement and her

constitutional right to due process. The government is playing a disingenuous game.



                                                                         Respectfully submitted,

                                                                  /s/
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                          CERTIFICATE OF SERVICE

      The undersigned, MiAngel Cody, an attorney hereby certifies that in
accordance with FED.R.CRIM. P. 49, FED. R. CIV. P5, LR5.5, and the General
Order on Electronic Case Filing (ECF), the following document(s):

                  DEFENDANT VIVIANNA LOPEZ’S
           REPLY IN SUPPORT OF HER MOTION TO COMPEL


was served pursuant to the district court’s ECF system as to ECF filings, if any,
and were sent by first-class mail/hand delivery on February 7, 2022, to counsel/parties
that are non-ECF filers.
                                                         /s/ MiAngel Cody
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